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 7   Attorneys for Christina Lovato, Trustee

 8
                               UNITED STATES BANKRUPTCY COURT
 9
10                                        DISTRICT OF NEVADA

11   In re                                            Case No.: 24-50792-hlb
                                                      (Chapter 7)
12   META MATERIALS INC.,

13   Debtor.                                          EX PARTE MOTION FOR ORDER
                                                      REQUIRING CUSTODIAN OF
14                                                    RECORDS FOR FINANCIAL INDUSTRY
                                                      REGULATORY AUTHORITY TO
15                                                    APPEAR FOR EXAMINATION
                                                      PURSUANT TO F.R.BANKR.P. 2004 AND
16
                                                      TO PRODUCE RECORDS
17
                                                      Hearing Date: N/A
18                                                    Hearing Time: N/A
19
20           Pursuant to Federal Rule of Bankruptcy Procedure 2004 and Local Rule 2004, Christina
21   Lovato, Chapter 7 Trustee for the Estate of Meta Materials Inc. (“Trustee”), by and through her
22   undersigned counsel, respectfully applies to this Court for an Ex Parte Order requiring the
23   Custodian of Records of Financial Industry Regulatory Authority (“FINRA”), to appear as set forth
24   in a subpoena to be issued pursuant to Federal Rule of Bankruptcy Procedure 9016, at a time, place

25   and date to be mutually agreed upon by the parties, or if no such agreement is reached, upon no

26   less than fourteen (14) calendar days written notice by the Trustee for examination, regarding the

27   Debtor’s assets, liabilities, and financial condition.

28           This Motion is supported by the following Memorandum of Points and Authorities.


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 1          DATED this 6th day of March, 2025.
 2                                                  ROBISON, SHARP, SULLIVAN & BRUST
                                                    71 Washington Street
 3                                                  Reno, NV 89503
 4
                                                         /s/ Clayton P. Brust
 5                                                  KENT R. ROBISON, ESQ.
                                                    CLAYTON P. BRUST, ESQ.
 6                                                  HANNAH E. WINSTON, ESQ.
 7
                                                    JEFFREY L. HARTMAN, ESQ.
 8                                                  HARTMAN & HARTMAN
                                                    510 W. Plumb Lane, Suite B
 9                                                  Reno, NV 89509
10                       MEMORANDUM OF POINTS AND AUTHORITIES
11          F.R.Bankr.P. 2004 provides, in relevant part, that upon motion of any party in interest, the
12   court may order the examination of the debtor or any other entity regarding the acts, conduct,
13   property, liabilities and financial conditions of the debtor, or any other matter which affects the
14   administration of the debtor’s estate or the debtor’s right to a discharge. Rule 2004 further provides
15   that production of documents may be compelled at this examination.
16          The Trustee seeks to conduct oral examination relating to the Debtors’ assets, liabilities,
17   and financial affairs to ascertain the facts and circumstances surrounding potential manipulation
18   of Debtor’s share prices from September 21, 2020 through August 7, 2024, and how the
19   manipulation affected Debtor’s financial condition for possible recovery on behalf of Debtor’s
20   estate. The Trustee also seeks to compel production of the following documents from FINRA (all
21   documents of which are for the time frame of September 21, 2020 through August 7, 2024, and in
22   respect to Meta, MMTLP, or other CUSIPs or legend identifiers pertaining to Meta or MMTLP):
23          1.      FINRA OATS or comparable Data (“OATS”): data records reflecting the lifespan

24                  transactions of orders from origination to completion capturing all relevant

25                  information (i.e. broker info, customer info, long or short indicators, unique ID

26                  etc.), with precision timestamps. These records will also reflect but are not limited

27                  to cancel/replaces, order forwarding, executions, and expired orders etc.

28          2.      Short Interest Data (Broker Level): Records reflecting the total short interest


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 1                 shares reported to FINRA, twice a month, with broker level detail.
 2          3.     All communications (emails, text, message, IM messages, letters or any other
 3                 forms of communication by and between FINRA (including its employees,
 4                 directors, officers or other agents) and any prime broker, broker, dealer, market-
 5                 maker or hedge fund) concerning any aspect of the shares of Meta and/or
 6                 MMTLP.
 7          The requested discovery from the Custodian of Records of FINRA is well within the scope
 8   of examination permitted under F.R.Bankr.P. 2004, which includes:
 9                 [t]the acts, conduct, or property or … the liabilities and financial
                   condition of the debtors, or … any matter which may affect the
10                 administration of the debtor’s estate, or to the debtor’s right to a
11                 discharge. In a …reorganization case under chapter 11 of the Code,
                   … the examination may also relate to the operation of any business
12                 and the desirability of its continuance, the source of any money or
                   property acquired or to be acquired by the debtor for purposes of
13                 consummating a plan and the consideration given or offered
                   therefore, and any other matter relevant to the case or to the
14
                   formulation of a plan.
15
16          WHEREFORE, the Trustee respectfully requests that this Court enter its Order authorizing
17   the examination of the Custodian of Records of FINRA, as described herein. A proposed Order is
18   attached as Exhibit 1.
19          DATED this 6th day of March, 2025.
20                                               ROBISON, SHARP, SULLIVAN & BRUST
                                                 71 Washington Street
21                                               Reno, NV 89503
22
                                                      /s/ Clayton P. Brust
23                                               KENT R. ROBISON, ESQ.
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                                                 JEFFREY L. HARTMAN, ESQ.
26                                               HARTMAN & HARTMAN
                                                 510 W. Plumb Lane, Suite B
27                                               Reno, NV 89509
28                                               Attorneys for Christina Lovato, Trustee


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                    EXHIBIT 1




                    EXHIBIT 1
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 7                             UNITED STATES BANKRUPTCY COURT

 8                                       DISTRICT OF NEVADA
 9   In re                                            Case No.: 24-50792-hlb
10                                                    (Chapter 7)
     META MATERIALS INC.,
11   Debtor.                                          [PROPOSED] ORDER GRANTING EX
                                                      PARTE MOTION FOR ORDER
12                                                    REQUIRING CUSTODIAN OF
13                                                    RECORDS FOR FINANCIAL INDUSTRY
                                                      REGULATORY AUTHORITY TO
14                                                    APPEAR FOR EXAMINATION
                                                      PURSUANT TO F.R.BANKR.P. 2004
15
                                                      Hearing Date: N/A
16
                                                      Hearing Time: N/A
17
18           This Court having reviewed the Ex Parte Motion For Order Requiring Custodian Of
19   Records For Financial Industry Regulatory Authority to Appear for Examination Pursuant to
20   F.R.Bankr.P. 2004 (the “Motion”) submitted by Christina Lovato, the Chapter 7 Trustee, and for
21   good cause appearing;
22           IT IS HEREBY ORDERED that the Motion is GRANTED; and
23           IT IS FURTHER ORDERED that the Custodian of Records of Financial Industry
24   Regulatory Authority, through an appropriate designee(s) shall appear for examination regarding
25   the Debtor’s assets, liabilities, and financial condition, before a certified court reporter at a time,
26   place and date to be mutually agreed upon by the parties, or if no such agreement is reached, upon
27   no less than fourteen (14) calendar days written notice by the Trustee for examination; and
28           IT IS FURTHER ORDERED that oral examination shall continue from day to day, as


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 1   necessary.
 2          IT IS FURTHER ORDERED that Financial Industry Regulatory Authority shall produce
 3   the following documents (time range from September 21, 2020 through August 7, 2024, and in
 4   respect to Meta, MMTLP, or other CUSIPs or legend identifiers pertaining to Meta or MMTLP):
 5          1.     FINRA OATS or comparable Data (“OATS”): data records reflecting the lifespan
 6                 transactions of orders from origination to completion capturing all relevant
 7                 information (i.e. broker info, customer info, long or short indicators, unique ID
 8                 etc.), with precision timestamps. These records will also reflect but are not limited
 9                 to cancel/replaces, order forwarding, executions, and expired orders etc.
10          2.     Short Interest Data (Broker Level): Records reflecting the total short interest shares
11                 reported to FINRA, twice a month, with broker level detail.
12          3.     All communications (emails, text, message, IM messages, letters or any other forms
13                 of communication by and between FINRA (including its employees, directors,
14                 officers or other agents) and any prime broker, broker, dealer, market-maker or

15                 hedge fund) concerning any aspect of the shares of Meta and/or MMTLP.

16
17
18   Respectfully Submitted By:

19
        /s/ Clayton P. Brust
20
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27   Attorneys for Christina Lovato, Trustee

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